           Case 3:13-cr-04510-JAH                       Document 632                  Filed 02/26/15            PageID.2120               Page 1 of 5


    ~AO 245B (CASD) (Rev. 4/14)    Judgment in a Criminal Case
               Sheet I                                                                                                                             '--- . )
                                                                                                                                                        ..-/



                                                                                                                                                           e. I~i 0­
                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE                               11'1
                                        v.                                           (For Offenses Committed On or After November 1, 1981)

                         Ronald Ledon Jackson -13                                    Case Number: 13-cr-04510-JAH-13
                                                                                     Jami L Ferrara
                                                                                     Defendant's Attorney
    REGISTRATION NO. 41283298
    o
    THE DEFENDANT:
    ~ pleaded guilty to count(s) ..,:O:.,.n..,:e_o_f_th_e_I_n_d_ic_tm_e_n_t__
                                                                         .. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty ofsuch count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18:1962(d); 18:1963                    Conspiracy to Conduct Enterprise Affairs Through a Pattern of                                       1
                                       Racketeering Activity




        The defendant is sentenced asprovided in pages 2 through                 5          ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _------------------------------------
                                      _ _ _ _ _ _ _ is 0 are 0 dismissed on the motion of the United States.
 ~ Assessment: $100.00.


 ~ No fine                                          o Forfeiture pursuant to order filed __________ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name. residence.
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                         13-cr-0451O-JAH-13
       Case 3:13-cr-04510-JAH                     Document 632             Filed 02/26/15     PageID.2121           Page 2 of 5

AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 Imprisonment

                                                                                              Judgment-Page _ _2 _ of         5
 DEFENDANT: Ronald Ledon Jackson -1
 CASE NUMBER: 13-cr-04S10-JAH-13
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         One Hundred months.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the residential drug abuse program and that custody be served in the Western Region for family
         visits.



     o The defendant is remanded to the custody of the United States Marshal.
     o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                   Oa.m.      Op.m.         on
               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                   -------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                   to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                            UNITED STATES MARSHAL


                                                                      By ______~~~~~~~~~~---------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                               13-cr-04S10-JAH-13
          Case 3:13-cr-04510-JAH                     Document 632                Filed 02/26/15             PageID.2122              Page 3 of 5

AO 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page - L - of _--=5:.-__
DEFENDANT: Ronald Ledon Jackson -1                                                                     o
CASE NUMBER: 13-cr-04510-JAH-13
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check. if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shan comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § )690 I, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         ST ANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permlsslon of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                   13-cr-04510-JAH-13
       Case 3:13-cr-04510-JAH                 Document 632             Filed 02/26/15           PageID.2123             Page 4 of 5




     AO     (Rev. 9/00) Judgment in a Criminal Case                                         Judgment-Page:!        _of 5
     Continued 2 - Supervised Release

     Defendant: Ronald Ledon Jackson
     CASE NUMBER: 13CR4510-JAH-13

                                         SPECIAL CONDITIONS OF SUPERVISION


1.   Not enter or reside in the Republic of Mexico without the permission of the Court or the Probation Officer.

2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by
the probation officer. Allow for reciprocal release ofinformation between the probation officer and the treatment provider. May be required
to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to
pay.

3. Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release ofthe presentence report
and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release
of information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered
in an amount to be determined by the probation officer, based on the defendant's ability to pay.

4. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

5. Resolve all outstanding warrants within 90 days.

6. Not associate with any known member, prospect, or associate of the Black MOB/Skanless, or any other gang, or club with a history
of criminal activity, unless given permission by the probation officer.

7. Not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with the                Black
MOB/Skanless, unless given permission by the probation officer.

8. Not loiter, or be present in locations known to be areas where known gang members congregate, unless given permission by the
probation officer.

9. Not associate with known prostitutes or pimps and/or loiter in areas frequented by those engaged in prostitution unless given permission
by the probation officer.

10. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or media,
and effects to search at any time, with or without a warrant, by law enforcement or probation officer with reasonable suspicion concerning
a violation ofa condition ofprobation/supervised release or unlawful conduct, and otherwise in the lawful discharge ofthe officer's duties.
18 USC 3563(b)(23); 3583(d)(3).

11. Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are imposed by the Court.

12. Provide complete disclosure of personal and business financial records to the probation officer as requested.

13. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the internet
without prior approval from the Court or the probation officer. The offender shall consent to the installation of systems that will enable
the probation officer to monitor computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
of installation of the computer software.
       Case 3:13-cr-04510-JAH                  Document 632              Filed 02/26/15           PageID.2124            Page 5 of 5




AO       (Rev. 9/00) Judgment in a Criminal Case Continued 2 -             Supervised Release

Defendant: Ronald Ledon Jackson
CASE NUMBER: 13CR4S10-JAH-13                                                    Judgment-Page         2. of 2.

                                       SPECIAL CONDITIONS OF SUPERVISION


14. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through and third­
party communication, with the victim or the victim's family, without prior approval ofthe probation officer.


15. Reside in a residence approved in advance by the probation by the probation officer.
